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Form DOMCRT (08/12)
                                          United States Bankruptcy Court
                                           Western District of Michigan
                                               One Division Ave., N.
                                                     Room 200
                                              Grand Rapids, MI 49503


IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):
                                                                  Case Number 14−04375−jtg
        Andrea J. Averill
        13396 Lime Lake Dr.                                       Chapter 13
        Sparta, MI 49345−0186
        SSN: xxx−xx−4738                                          Honorable John T. Gregg
                                                      Debtor



                            DEBTOR'S CERTIFICATION REGARDING
                 DOMESTIC SUPPORT OBLIGATION PURSUANT TO 11 U.S.C. § 1328(a)


  The debtor(s) in the above−referenced matter certify as follows:



      Debtor       Spouse              I have not been required by a judicial or administrative order, or by
                                       statute, to pay any Domestic Support Obligation as defined in 11 U.S.C.
                                       § 101(14A), either before this proceeding was filed, or at any time after
                                       the date of filing.

                                                                        −OR−


      Debtor       Spouse              I have paid all amounts that I am required to pay under any judicial or
                                       administrative order, or statutes, for a Domestic Support Obligation as
                                       defined in 11 U.S.C. § 101(14A), including all amounts that came due
                                       after the petition was filed and pre−petition arrears to the extend
                                       provided for in the plan.

   I declare under penalty of perjury that the information provided in the Certificate is true and correct.


Date: ______________________                                        ___________________________
                                                                    Debtor


Date: ______________________                                        ___________________________
                                                                    Joint Debtor(if applicable)
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